        Case 1:24-cr-00524-JLR         Document 40 Filed 04/04/25 Page 1 of 2
                                                 U.S. Department of Justice
[Type text]
                                                     United States Attorney
P                                                    Southern District of New York
                                                    The Jacob K. Javits Federal Building
                                                    26 Federal Plaza
                                                    New York, New York 10278


                                                     April 4, 2025

By ECF

The Honorable Jennifer L. Rochon
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:     United States v. Keith Taylor, 24 Cr. 524 (JLR)

Dear Judge Rochon:

       The Government respectfully writes to inform the Court that a superseding indictment was
returned by the grand jury yesterday and docketed today as S1 24 Cr. 524 (JLR) (the “Superseding
Indictment”). The Superseding Indictment contains the same charges as the initial indictment, but
expands the time frame of the wire fraud and aggravated identity fraud offenses and provides some
additional factual detail in the to wit clause of Count One.

        The filing of the Superseding Indictment, which the Government had previously indicated
to the defendant was contemplated, will not necessitate the production of any additional discovery.
Given that no new charges are included in the Superseding Indictment, and that the Court has
already excluded time under the Speedy Trial Act until the start of trial, May 12, 2025, the
Government has no objection to the Court deferring an arraignment on the Superseding Indictment
until the final pretrial conference.


                                                     Respectfully submitted,

                                                     MATTHEW PODOLSKY
                                                     Acting United States Attorney

                                             By:      s/ Eli J. Mark
                                                     Eli J. Mark
                                                     Rebecca R. Delfiner
                                                     James Mandilk
                                                     Assistant United States Attorneys
                                                     (212) 637-2431/2427/2453
      Case 1:24-cr-00524-JLR   Document 40   Filed 04/04/25   Page 2 of 2
                                                                       Page 2 of 2



cc:   (by ECF)

      Brian Ketcham, Esq.
      Sabrina Shroff, Esq.
